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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF SOUTH CAROLINA


UNITED STATES OF AMERICA                                                CR. NO. 1:24-412-JFA

vs

CODY LEE ANDERSON



____________________________________________________________________________________________________________

                                        REVISED SCHEDULING NOTICE


PRETRIAL CONFERENCE: A pretrial conference December 10, 2024 at 2:00 p.m. before the Honorable
Joseph F. Anderson, Jr. in courtroom #4 in the Matthew J. Perry Courthouse, Columbia, South Carolina. The
defendant and his/her attorney must attend the conference.
NOTE: If a plea agreement has been reached, the Change of Plea hearing will be held at this time. Please see Judge
Anderson’s Standing Order regarding plea agreements (Misc. No. 3:24-311).

REQUIREMENTS: Motions to Continue filed before a scheduled pretrial conference shall state a reason under 18
U.S.C. § 3161(h)(7)(B) why a continuance is requested as well as the signature of the defendant waiving his/her
rights to a speedy trial and the consent of the Assistant U.S. Attorney. In cases where there are multiple defendants,
this Court will not consider granting a continuance before the pretrial conference unless there are Motions for
Continuance from all defendants in the case.

JURY SELECTION AND TRIAL: A jury will be selected for the trial of this case January 14, 2025 at 9:30am
in courtroom #4, Matthew J. Perry Courthouse, Columbia, South Carolina. The defendant and his/her attorney
must be present for the entire jury selection process. The trial judge will be Honorable Joseph F. Anderson, Jr.
 The date for the trial of this case will be announced on the date the jury is selected.

        *Pursuant to the Local Rules of this court, counsel must submit any proposed voir dire questions and special
jury instructions to the court (with a copy being sent to opposing counsel) at least five business days prior to jury
selection. If such requests are not made by the deadline, counsel shall have waived the right to submit them.

        *All parties are advised that they must get the court’s approval to receive a jury list. The jury clerk will send
each juror a written questionnaire to be completed and returned prior to jury selection. Copies of these
questionnaire responses will be available for review through CM/ECF seven (7) days prior to jury selection; Strikes
for cause are to be submitted 2 business days prior to jury selection. a Juror Questionnaire Request Form may be
accessed on the web at https://www.scd.uscourts.gov/Forms/Jury/Juror_Questionnaire_List_Request_Form.pdf.

         *The questionnaires ask many of the same questions that are traditionally asked of the jurors during voir
dire at jury selection. All parties are responsible for obtaining copies of the questionnaire responses. The questions
on the juror questionnaires will not be repeated in the courtroom during jury selection. Members of the jury panel
will be shown a Juror Orientation Video. You may review a transcript of the video at
http://www.scd.uscourts.gov/Forms/Jury/Joe_Anderson_Juror_Video_Orientation_Script.pdf.
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EXPERT DISCLOSURES:1

        Government’s Disclosure: At the defendant’s request, the government must disclose, in writing, the
        information required by Fed. Crim. Rule 16(a)(1)(G)(iii) for any testimony it intends to use at trial under
        Federal Rule of Evidence 702, 703, or 705 during its case-in-chief no later than 6 weeks before trial, or
        during its rebuttal to counter testimony that the defendant has timely disclosed under Fed. Crim. Rule
        16(b)(1)(C) no later than 2 weeks before trial.

        If the government requests discovery under the second bullet point in Fed. Crim. Rule 16(b)(1)(C)(I) and
        the defendant complies, the government must, at the defendant’s request, disclose to the defendant, in
        writing, no later than 2 weeks before trial, the information required by Fed. Crim. Rule 16(a)(1)(G)(iii)
        for testimony that the government intends to use at trial under Federal Rule of Evidence 702, 703, or 705
        on the issue of defendant’s mental condition.

        Defendant’s Disclosure: At the government’s request, the defendant must disclose to the government, in
        writing, no later than 4 weeks before trial, the information required by Fed. Crim. Rule 16(b)(1)(C)(iii)
        for any testimony that the defendant intends to use under Federal Rule of Evidence 702, 703, or 705 during
        the defendant’s case-in-chief, if:

                •       the defendant reqeusts disclosure under Fed. Crim. Rule 16(a)(1)(G) and the government
                        complies; or
                •       the defendant has given notice under Fed. Crim. Rule 12.2(b) of an intent to present expert
                        testimony on the defendant’s mental condition.




                                                                   ROBIN L. BLUME, CLERK

October 25, 2024                                                   s/ Jennifer Peterson, Deputy Clerk




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These deadlines may be modified sua sponte or on motion of either party as appropriate in a given case.
